Case 4:20-cr-00105-JEG-HCA Document 52 Filed 10/25/22 Page 1 of 16

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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION


   - - - - - - - - - - - - - X
   UNITED STATES OF AMERICA, :
                             :
         Plaintiff,          :
                             :
   vs.                       :           Case No. 4:20-cr-105
                             :
   KHRISTA KAYE ERDMAN,      :       TRANSCRIPT OF SENTENCING
                             :
         Defendant.          :
   - - - - - - - - - - - - - X


                                 Courtroom 265, Second Floor
                                 U.S. Courthouse
                                 123 East Walnut Street
                                 Des Moines, Iowa
                                 Wednesday, June 1, 2022
                                 10:00 a.m.



   BEFORE:   THE HONORABLE JAMES E. GRITZNER, Senior Judge


   APPEARANCES:

   For the Plaintiff:            MIKAELA J. SHOTWELL, ESQ.
                                 United States Attorney's Office
                                 U.S. Courthouse Annex
                                 110 East Court Avenue, Suite 286
                                 Des Moines, Iowa 50309

   For the Defendant:            DENNIS E. McKELVIE, ESQ.
                                 McKelvie Law Office
                                 P.O. Box 213
                                 Grinnell, Iowa 50112



                       TONYA R. GERKE, CSR, RDR, CRR
                          United States Courthouse
                      123 East Walnut Street, Room 197
                           Des Moines, Iowa 50309
 Case 4:20-cr-00105-JEG-HCA Document 52 Filed 10/25/22 Page 2 of 16

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 1                           P R O C E E D I N G S

 2              THE COURT:   Take a seat, please.       Good morning.

 3              We are convened in the matter of the United States

 4   versus Khrista Kaye Erdman, Criminal Number 20-105 for purposes

 5   of sentencing as a result of the defendant's plea to Count 1 of

 6   the information, conspiracy to distribute 50 grams or more of

 7   methamphetamine.

 8              Ms. Erdman, do you understand that you're here now for

 9   sentencing as a result of your plea?

10              THE DEFENDANT:    Yes, sir.

11              THE COURT:   Is your plea still guilty?

12              THE DEFENDANT:    I'm sorry.    What?   I didn't hear.

13              THE COURT:   Is your plea still guilty?

14              THE DEFENDANT:    Yes.

15              THE COURT:   Okay.   Counsel, is there any legal reason

16   why sentencing could not proceed today?

17              MS. SHOTWELL:    No, Your Honor.

18              MR. McKELVIE:    No, Your Honor.

19              THE COURT:   I have reviewed the presentence

20   investigation report and related materials, the memoranda of

21   counsel.   I have also seen a couple of letters written on your

22   behalf, Ms. Erdman, which I appreciated receiving.         If the folks

23   that wrote the letter are here, thank you.

24              Based upon my review of that material as well as the

25   Government's motion under 5K1.1, I accept the plea agreement and
 Case 4:20-cr-00105-JEG-HCA Document 52 Filed 10/25/22 Page 3 of 16

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 1   agree to be bound by that agreement.       I find the count to which

 2   the defendant pled adequately reflects the seriousness of the

 3   defendant's behavior, and I find the plea agreement is in the

 4   public interest and in the interests of justice.

 5             Has the Government had the opportunity to review the

 6   final presentence investigation report?

 7             MS. SHOTWELL:     Yes, Your Honor.

 8             THE COURT:    Do you find any factual error in that

 9   report?

10             MS. SHOTWELL:     No, Your Honor.

11             THE COURT:    Mr. McKelvie, have you reviewed that

12   report?

13             MR. McKELVIE:     Yes, Your Honor, and on receipt I

14   mailed a copy to the defendant, who is at the Polk County Jail.

15   After she had an opportunity to review it, we met and went

16   through it in its entirety and filed a non-objection to that,

17   Your Honor.

18             THE COURT:    Okay.   Ms. Erdman, did you read the

19   presentence investigation report yourself?

20             THE DEFENDANT:     I did, Your Honor.

21             THE COURT:    And have you had a full opportunity to

22   confer with your lawyer about the contents of that report?

23             THE DEFENDANT:     Yes.

24             THE COURT:    I will accept the presentence

25   investigation report as factual findings for our purposes here
 Case 4:20-cr-00105-JEG-HCA Document 52 Filed 10/25/22 Page 4 of 16

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 1   today.

 2             I understand from the memoranda that there's no

 3   dispute about the calculation of the guideline range; is that

 4   correct, counsel?

 5             MS. SHOTWELL:     That's correct, Your Honor.

 6             MR. McKELVIE:     That is correct, Your Honor.

 7             THE COURT:    For you folks that are in the courtroom

 8   that are not accustomed to this process, in federal court in

 9   this country we have a guideline sentencing system that assesses

10   the nature of the particular offense that is compared to the

11   criminal history of a defendant that's before the Court, and the

12   combination of those two things results in a recommended

13   guideline range.    The Court is not bound to impose that range,

14   but it is an attempt to reach some level of consistency in

15   sentencing throughout the country.

16             In this particular case, we have an offense level 35

17   based upon the nature of the offense.       We have a criminal

18   history category VI based upon Ms. Erdman's criminal history.

19   That provides the Court with a guideline sentencing range of 292

20   to 365 months.   Against that, we have a departure issue.        I have

21   the Government's motion under 5K1.1.       I have reviewed that

22   motion.

23             Counsel, do you have anything to add to that?

24             MS. SHOTWELL:     No, Your Honor.

25             THE COURT:    All right.    Mr. McKelvie, any further
 Case 4:20-cr-00105-JEG-HCA Document 52 Filed 10/25/22 Page 5 of 16

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 1   remarks with regard to the 5K1.1 motion?

 2             MR. McKELVIE:     Well, Your Honor, only that we agree

 3   with the Government's request, and in reality then if the

 4   Government is going to -- if the Court is going to grant that,

 5   it makes our own request, I think, moot.       We would have asked

 6   for basically the same thing on the same grounds.

 7             THE COURT:    All right.    I think having reviewed the

 8   motion, it seems to me that the Government's recommendation is

 9   fully supported, and, therefore, the Government (sic) will grant

10   the motion under 5K1.1 at the level that the Government

11   recommends.

12             With that then, the question is a percentage of what,

13   and so the next question is what is an appropriate sentence

14   under the circumstances.     Mr. McKelvie?

15             MR. McKELVIE:     Again, Your Honor, we've had plenty of

16   opportunity to look at this and believe that the Government's

17   position is fair and just and provides a sentence under the

18   circumstance that is sufficient but not more than necessary to

19   meet the sentencing guidelines, so in all respects we request

20   the Court grant the motions that the Government has filed and

21   impose a sentence that's requested by the Government.

22             THE COURT:    All right.    Ms. Erdman, you have the right

23   to speak to the Court yourself today if you want.         It is

24   entirely up to you whether you do so.       But if you've got

25   something you'd like to say, I'd be glad to hear from you.
 Case 4:20-cr-00105-JEG-HCA Document 52 Filed 10/25/22 Page 6 of 16

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 1              THE DEFENDANT:    I do, Your Honor.

 2              My name is Khrista Erdman, and I'm 44 years old.           I'd

 3   like to thank the Court today for the chance to offer my deepest

 4   and most sincere apologies.

 5              I was 15 when I started using meth, and I was in a

 6   relationship with a man who was 34 at the time.        I was young,

 7   naive, and vulnerable with no self-esteem or self-worth, and he

 8   was older and a more mature, charming man.        I saw it as a way

 9   out.   By that I mean a way to escape everything in my life.

10   Being so young, I was easily molded and quickly made my whole

11   world revolve around him and using.

12              My inability to stop using for my children eventually

13   cost me my children, and then I used because I lost my children,

14   and the guilt and shame consumed me.       I seemed to be a magnet

15   for abusive and controlling men, and I truly believed that's

16   what I deserved.    There was a void in me that I tried

17   unsuccessfully to fill with anything and everything:         drugs,

18   men, money, chaos in general.      I was lost and stuck, and one

19   after another, my decisions got worse and worse.         I was broken

20   on the inside trying to fix something I couldn't see.

21              I eventually ended up in prison full of self-hatred,

22   denial, and regret, and I would get out, be sober and do really

23   good things, and then usually I would get involved with a man

24   and make my whole world revolve around him, and then for one

25   reason or another, I would eventually throw everything good that
 Case 4:20-cr-00105-JEG-HCA Document 52 Filed 10/25/22 Page 7 of 16

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 1   I had accomplished down the drain.

 2              My whole life has been a series of unhealthy,

 3   impossible relationships, and my first instinct when things

 4   start to go bad is meth; numb the pain; escape reality, but

 5   slowly but surely, it dominates my life in one way or another.

 6   It's a vicious cycle of a meth misery merry-go-round, and it's

 7   taken me 28 years to figure it out.

 8              When I was a kid I told my great-grandmother I was

 9   going to be the first woman president and I was going to marry

10   Kenny Rogers because I was his favorite.

11              THE COURT:    Your counsel is trying to help you because

12   it's hard for the court reporter to keep up with you when you're

13   reading something, so if you could slow down a little bit, that

14   would help.

15              THE DEFENDANT:    Obviously neither were possible -- oh,

16   sorry.   Obviously neither of them were realistic for me even

17   when I didn't know it at the time.      But I had dreams, and they

18   didn't consist of being a drug addict or a drug dealer or a

19   junkie or any of the other terrible things I've become.

20              As a result of my addiction, as I sit here in Polk

21   County Jail, I keep asking myself if this drug has poisoned so

22   much of my life, why would I put it back into the community and

23   contribute to ruining someone else's?       Your Honor, there is

24   absolutely no excuse or reason that I -- that I can give you to

25   justify it in any way.     The reality for me is that my judgment
 Case 4:20-cr-00105-JEG-HCA Document 52 Filed 10/25/22 Page 8 of 16

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 1   is so clouded by my addiction, it's disgusting how much of

 2   myself I've lost to this drug.

 3              I'm here today to take accountability for the choices

 4   I've made and face the consequences.       I know that I'm not a bad

 5   person, and I refuse to give up on myself.        As I said in the

 6   beginning of this letter, I can only offer my deepest apologies

 7   to my children, society, and the people whom I love and who love

 8   me for my selfish choices and the destruction I have caused.           I

 9   know I'm capable of so much more.

10              And if I could make a request, Your Honor, I'm asking

11   to go to Danbury, Connecticut, where I can participate in the

12   FIT program that's only offered there.       I'm also interested in

13   the dental hygienist program.      They have a legal secretary

14   program.   RDAP is there.    They're all offered.     I feel the

15   programming that would be most beneficial to me is there to help

16   me maintain long-term sobriety.

17              I have such a long history, good and bad, here in

18   Des Moines, and after giving it much thought, my plan when it

19   comes time to parole -- I won't be coming back here to Iowa.

20   Eventually I would like -- I have a home in Arkansas, and I

21   would like to end up there.

22              But I have family in Danbury, and the reason I ask for

23   this, Your Honor, is I've been doing this a long time, and the

24   people that I've used with or lived this lifestyle with are

25   mostly basically in places like Waseca and the places that they
 Case 4:20-cr-00105-JEG-HCA Document 52 Filed 10/25/22 Page 9 of 16

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 1   commonly send people from Iowa, and I feel like the best -- the

 2   best chance I have is to get as far away from here as possible

 3   so that I don't have that -- that thinking and that -- I don't

 4   know how else to say it.

 5             THE COURT:    You don't need the words.       I know what

 6   you're saying, and you're absolutely right.

 7             THE DEFENDANT:     I feel like that's the best shot I

 8   got, you know.   I -- I don't know what else to say about it.

 9             THE COURT:    All right.    Thank you.

10             Ms. Shotwell, the Government's view, please?

11             MS. SHOTWELL:     Thank you, Your Honor.

12             I think the defendant actually hit it on the head when

13   she said that there's a lot of bad and a lot of good here.        This

14   truly is a case where there are significant aggravating factors

15   to be balanced with significant mitigating factors.

16             It is hard to overstate the seriousness of the

17   defendant's conduct.    Back in July of 2018, she was on parole

18   for 9 separate criminal convictions, and she was selling

19   methamphetamine.    A search warrant at her house revealed almost

20   300 grams of methamphetamine.      Her parole was revoked on each of

21   those 9 criminal convictions, and she was sent back to prison

22   for a year.   She got out, and within short order she escalated,

23   and within about a year of getting out of prison, she had a

24   large-scale methamphetamine source of supply that she was

25   bringing 10- to 20-kilogram loads of methamphetamine into this
Case 4:20-cr-00105-JEG-HCA Document 52 Filed 10/25/22 Page 10 of 16

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 1   community and distributing it.     That is serious.     The context in

 2   which she committed that crime is serious, on supervision for

 3   each of those 9 criminal convictions dating back to 1999,

 4   criminal conduct that was unabated by the search warrant that

 5   was executed at her house in July of 2018 for charges that she

 6   never received and didn't know she had until she was arrested in

 7   October of 2021.

 8             All of that being said, there are glimpses here of

 9   someone who can be and has been a productive member of the

10   community when she's sober, when she's employed, when she's

11   dedicated to her family, and when she's not hurting her friends

12   and her family and the community.      She immediately accepted

13   responsibility to this case.     She pled guilty to an information

14   with an enhanced drug quantity, and she has taken affirmative

15   steps to atone for the criminal conduct that she was engaged in.

16             She recognized something in her allocution something

17   that this Court recognizes often, which is the paradox of

18   addiction-driven conduct that involves pumping that same drug

19   back into the community, and that recognition and what I believe

20   to be the defendant's genuine words that she hopes to distance

21   herself and wants to take steps to distance herself

22   geographically and mentally from this conduct bodes well for her

23   future on release, so for those reasons, the Government requests

24   a downward variance and would ask the Court to impose a sentence

25   that the parties recommended.
Case 4:20-cr-00105-JEG-HCA Document 52 Filed 10/25/22 Page 11 of 16

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 1                THE COURT:   Thank you, counsel.

 2                Pursuant to the provisions of Title 18, United States

 3   Code section 3553, in determining the sentence that is

 4   appropriate, the Court considers the nature and circumstances of

 5   the offense and the history and characteristics of the

 6   defendant.    I have considered all of the factors under section

 7   3553(a), although it will not be necessary to address all of

 8   them in the process of explaining the sentence today.

 9                Ms. Erdman, I've been doing this a long time, but I

10   have not become callous to the situation that you're confronting

11   here today.    This is very sad.   It's sad on many levels.        It's

12   not only sad from what has happened in your own life.            You've

13   been on a rough road, and I understand that, and I understand

14   the details of that, and I know the letters that I got suggest

15   that this is all about addiction, and certainly in many respects

16   that's true, but we do have the irony of the fact that your

17   addiction caused you to be involved in the enterprise of

18   providing this poison to other people and creating impact on

19   their lives just like it's had on your life, and that is the

20   difficulty that the Court must address in addressing the

21   sentencing situation.

22                Obviously the seriousness of the offense drives the

23   sentence in this case today.     The question of just punishment is

24   resolved no matter what I do today.      The Court does need to be

25   concerned about protecting the public from further crimes that
Case 4:20-cr-00105-JEG-HCA Document 52 Filed 10/25/22 Page 12 of 16

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 1   you might commit.   If you can get beyond this addiction, I don't

 2   have concern about that.    I think you have the ability to do so

 3   much better, and hopefully that's what's going to happen.

 4   Anything I do today will also resolve the issue of deterrence to

 5   criminal conduct of other persons.

 6             I want to commend the counsel because I think that the

 7   lawyers have done an excellent job of working through a very

 8   difficult case to reach what I think is a reasonable

 9   recommendation that is sufficient but not greater than necessary

10   under the unique circumstances of your case.       The Court agrees

11   with counsel that a variance from the guideline range is

12   appropriate based upon your profoundly difficult family history,

13   your serious and long-term addiction, and your recent acceptance

14   of your responsibility and your attitude at this point in your

15   life.

16             Mr. McKelvie, do you seek an RDAP recommendation?

17             MR. McKELVIE:    Yes, Your Honor.

18             THE COURT:    Okay.   Accordingly, the Court's going to

19   vary from the bottom of the guideline range down to 262 months.

20   Against that I will apply the recommendation for a reduction and

21   sentence on that basis.

22             Will the defendant please rise.

23             Based upon the Court's review of the criteria set

24   forth in Title 18, United States Code section 3553, and the

25   unique circumstances of this case, including the 5K1.1 motion,
Case 4:20-cr-00105-JEG-HCA Document 52 Filed 10/25/22 Page 13 of 16

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 1   it is the judgment of the Court that the defendant, Khrista Kaye

 2   Erdman, is hereby sentenced to the custody of the Bureau of

 3   Prisons for a term of 183 months on Count 1 of the information.

 4             Counsel, your brief suggests that there's no

 5   forfeiture, but there was a preliminary order of forfeiture, and

 6   there's -- it's a significant issue in this case.        Is there a

 7   forfeiture?

 8             MS. SHOTWELL:    There is, Your Honor.      I apologize for

 9   the error in the brief.    If the Court would order the forfeiture

10   consistent with the preliminary order of forfeiture at docket

11   35.

12             THE COURT:    I will do so.    The judgment will include

13   the forfeiture of the funds that are mentioned in the

14   preliminary order of forfeiture that was entered in December.

15             Upon release from imprisonment, you'll be placed on

16   supervised release for a period of 5 years.       Within 72 hours of

17   release from the custody of the Bureau of Prisons, you are to

18   report in person to the probation office in the district to

19   which you've been released.

20             While you're on supervised release, you're not to

21   commit another federal, state, or local crime.        You'll be

22   prohibited from possessing a firearm or other destructive

23   device, and you shall not possess any illegal controlled

24   substances.   You'll have to abide by the standard conditions of

25   supervised release plus you must participate in a program of
Case 4:20-cr-00105-JEG-HCA Document 52 Filed 10/25/22 Page 14 of 16

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 1   testing and/or treatment for substance abuse as directed by the

 2   probation officer until release from that program.

 3                You must submit to a mental health evaluation and if

 4   treatment is recommended participate in approved treatment

 5   programs.    You must participate in a cognitive behavioral

 6   treatment program, and you will submit to a search of your

 7   person, property, residence, adjacent structure, office,

 8   vehicle, papers, computers, and other electronic communications

 9   or data storage devices or media conducted by a U.S. probation

10   officer with or without the support of law enforcement including

11   the United States Marshals Service.

12                The Court finds you are unable to pay a fine.       You are

13   ordered to pay a $100 special assessment to the victims

14   assistance fund which will be due immediately and payable

15   without interest to the U.S. Clerk of Court for the Southern

16   District of Iowa.

17                You may be seated.

18                I will recommend to the Bureau of Prisons that you be

19   allowed to participate in the RDAP or similar comprehensive drug

20   treatment programming while in their custody.        I will also

21   recommend placement at the facility at Danbury, Connecticut.

22                You do have the right to appeal from the judgment

23   that's being imposed today.       You would need to do so within 14

24   days of the entry of judgment, and I anticipate that will happen

25   yet today.
Case 4:20-cr-00105-JEG-HCA Document 52 Filed 10/25/22 Page 15 of 16

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 1                Counsel, we have Counts 1 and 2 of the indictment to

 2   dispose of?

 3                MS. SHOTWELL:    Yes, Your Honor.    At this time the

 4   Government moves to dismiss Counts 1 and 2 of the indictment.

 5                THE COURT:   Counts 1 and 2 of the indictment are

 6   dismissed.

 7                Anything else to come before the Court with regard to

 8   Ms. Erdman this morning?

 9                MS. SHOTWELL:    No, Your Honor.    Thank you.

10                THE COURT:   Mr. McKelvie?

11                MR. McKELVIE:    Your Honor, the defendant thanks the

12   United States Government for honoring their representations.

13   Nothing else.

14                THE COURT:   All right.   Ms. Erdman, good luck to you.

15   I hope the Connecticut thing works out.         I think your judgment

16   in that regard is very sound, and I think that that's a wise

17   position that you're taking, and good luck in the programming,

18   and I hope you can get out on the other end of this thing and

19   get on with your life without more bumps.        Good luck to you.

20                THE DEFENDANT:   Thank you.

21                THE COURT:   We're in recess.

22                (Proceedings concluded at 10:20 a.m.)

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Case 4:20-cr-00105-JEG-HCA Document 52 Filed 10/25/22 Page 16 of 16

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 2                          C E R T I F I C A T E

 3             I, Tonya R. Gerke, a Certified Shorthand Reporter of

 4   the State of Iowa and Federal Official Realtime Court Reporter

 5   in and for the United States District Court for the Southern

 6   District of Iowa, do hereby certify, pursuant to Title 28 U.S.C.

 7   Section 753, that the foregoing is a true and correct transcript

 8   of the stenographically reported proceedings held in the

 9   above-entitled matter and that the transcript page format is in

10   conformance with the regulations of the Judicial Conference of

11   the United States.

12             Dated at Des Moines, Iowa, October 25, 2022.

13

14

15                            /s/ Tonya R. Gerke
                              Tonya R. Gerke, CSR, RDR, CRR
16                            Federal Official Court Reporter

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